                            Case 2:10-cr-00009-KJM Document 44 Filed 03/31/11 Page 1 of 1


                      1 NEDRA RUÍZ #72474
                           506 Broadway
                      2 San Francisco CA 94133
                           Telephone: 415/986-5591
                      3
                           Attorney for Defendant
                      4 ANTONIO GUERRERO

                      5                         UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF CALIFORNIA
                      6

                      7 UNITED STATES OF AMERICA,

                      8               Plaintiff,                  CR. S-10-0009 FCD

                      9         v.                                AMENDED STIPULATION AND ORDER
                                                                  TO CONTINUE STATUS CONFERENCE
                      10 ANTONIO GUERRERO and
                           FRANCISCO GARIN,
                      11
                                      Defendants.
                      12                                  /

                      13        THE PARTIES HEREBY STIPULATE AND AGREE that the status

                      14 conference for defendants, now scheduled for April 4, 2011 at

                      15 10:00 a.m., shall be continued to May 23, 2011, at 10:00 a.m.

                      16        For the purpose of computing time under the Speedy Trial

                      17 Act, 18 U.S.C. section 3161 et seq, the parties stipulate that

                      18 the time period from the date of the filing of this stipulation

                      19 to May 23, 2011, is deemed excludable.

                      20

                      21  /s/ PAUL A. HEMESATH                      /s/NEDRA RUIZ
                         PAUL A. HEMESATH                           NEDRA RUIZ
                      22 Assistant U.S. Attorney                    Attorney for ANTONIO GUERRERO

                      23
                                                                    /s/J. TONY SERRA
                      24                                            J. TONY SERRA
                                                                    KALI S. GRECH
                      25                                            Attorneys for FRANCISCO GARIN

                      26        IT IS SO ORDERED.

                      27 Dated: March 31, 2011
LAW OFFICES
 506 BROADWAY         28
SAN FRANCISCO
  (415) 986-5591
                                                              _______________________________________
Fax: (415) 421-1331                                           FRANK C. DAMRELL, JR.
                                                              UNITED STATES DISTRICT JUDGE
